                                Case 1:17-cv-08956-AKH Document 1-1 Filed 11/16/17 Page 1 of 2
                                                        Exhibit A to the Complaint
Location: New York, NY                                                                                IP Address: 108.46.43.152
Total Works Infringed: 30                                                                             ISP: Verizon Fios
 Work        Hash                                        Site                UTC          Published         CRO App. File    CRO Number
                                                                                                            Date
 1           8B52FD7A90E10A36119BF71791AE13499BB0C147    Tushy               09/19/2017   03/27/2017        06/05/2017       PA0002050767
                                                                             04:24:33
 2           02468FB5936B82D569B3718F48FF71EEBE6C9E14    Tushy               07/18/2017   07/05/2017        07/06/2017       PA0002041555
                                                                             05:23:20
 3           0326E8923C58852725F5A7857833A4CD3E715289    Tushy               07/02/2017   05/06/2017        06/15/2017       15389210313
                                                                             19:09:32
 4           039F4779148D3E374D990283A83AC46A0219DAE9    Vixen               07/02/2017   04/19/2017        06/15/2017       15389210409
                                                                             19:10:12
 5           061839DA517C8121C784459FF2EA40CF0AD2A220    Tushy               07/02/2017   05/31/2017        06/22/2017       PA0002039299
                                                                             19:30:24
 6           0A63D1DC5B920F43372D8DAC44BE198EFF11836C    Tushy               07/02/2017   05/16/2017        06/22/2017       PA0002039300
                                                                             19:36:58
 7           1C2C06D480942F4FE7FDCED4759E93805E02B54B    Tushy               07/02/2017   05/21/2017        06/22/2017       PA0002039282
                                                                             19:25:37
 8           1F6D2B8B3E349D95C7205A9E6C7826A7CFF8E1F1    Tushy               07/02/2017   04/11/2017        06/15/2017       PA0002037579
                                                                             19:19:01
 9           22883186DAB5FCA92C8513AD939652BCB867FD5C    Tushy               10/03/2017   08/19/2017        08/24/2017       15894022311
                                                                             03:01:13
 10          31577E16E1B68BF13F30BE538E1BAF66E224726A    Tushy               10/03/2017   07/30/2017        08/11/2017       15711086778
                                                                             04:49:47
 11          3637879FCB7A309DC4BA4B9F7C2D9FB1905E7544    Tushy               10/03/2017   09/28/2017        10/10/2017       15894022733
                                                                             04:49:08
 12          464AB452DA8258FA23BA74830F0D57EE7CA518C5    Tushy               10/03/2017   08/24/2017        08/24/2017       PA0002052837
                                                                             02:47:53
 13          4FF62836FC3C509617EE5DE7658EAABE045C0BA1    Tushy               10/03/2017   09/13/2017        09/25/2017       15894022635
                                                                             03:01:15
 14          52676DB8AF414DEA769B50EB28C052C61D366D93    Tushy               07/02/2017   04/01/2017        06/05/2017       PA0002050768
                                                                             19:09:45
 15          530E54D481D7BE087FF8875651364C015974E71E    Tushy               07/02/2017   04/26/2017        06/15/2017       PA0002037565
                                                                             19:16:02
 16          5554570156FC9CCD23D39D2946BF8EACB0F41F70    Tushy               07/02/2017   05/26/2017        06/22/2017       PA0002039288
                                                                             19:10:24
                          Case 1:17-cv-08956-AKH Document 1-1 Filed 11/16/17 Page 2 of 2
Work   Hash                                       Site         UTC          Published      CRO App. File   CRO Number
                                                                                           Date
17     5C208E2ABF6083135CA52776A02D87442F215D60   Tushy        07/18/2017   06/15/2017     07/06/2017      15583057198
                                                               05:18:25
18     729C3815122E9D62C4F62EC6CAD5CA5B5EBB95F9   Blacked      10/08/2017   07/29/2017     08/11/2017      PA0002046872
                                                               02:44:15
19     78F5DACFBD414605C47BD190F5C421E65F70B396   Tushy        07/18/2017   07/10/2017     08/17/2017      15732782072
                                                               05:19:40
20     84BEF1867B3EF57983478E33EBCC9E016308D060   Tushy        07/02/2017   05/11/2017     06/22/2017      PA0002039286
                                                               19:06:41
21     9D5513F0563852D9FB73EDC7D6318A6BB04334D9   Tushy        10/03/2017   09/18/2017     09/28/2017      15894022252
                                                               02:47:16
22     A3DA962966B22156A853DCCE4289A66A113ECF29   Tushy        10/03/2017   08/29/2017     09/07/2017      15894022439
                                                               02:57:41
23     A5FA84BEBC5D2C5A5330581452C032D90577EDC1   Tushy        10/03/2017   08/04/2017     08/17/2017      15732903865
                                                               04:55:35
24     ABDFB02F5D20E29C32ABCE90A8478787DDA3C11D Tushy          07/18/2017   06/10/2017     07/06/2017      15583057070
                                                               05:22:59
25     AE6A89DD0FB4978EAC561028F9FB06AA0A8D7E6A   Tushy        07/02/2017   05/01/2017     06/15/2017      PA0002037577
                                                               19:19:59
26     B316A7B2BA822FD11A7D2D2733FE8293C9BE17DC   Tushy        07/02/2017   06/05/2017     07/06/2017      15583057012
                                                               19:09:24
27     C28A866375FF6CB8933EE66D5D4642164AF0A438   Tushy        07/18/2017   06/25/2017     07/06/2017      15584063333
                                                               05:35:45
28     CF7373B976BF078DBB9CE0871213D8469D84358D   Tushy        10/08/2017   10/03/2017     10/10/2017      15894022537
                                                               03:17:07
29     EBC75FD3F24B24A008F1CB3134B8FD15ED6A438E   Tushy        10/03/2017   06/20/2017     07/06/2017      15584063275
                                                               04:47:59
30     EDAA460FA5995B02EF111997AAC1E210CA5669F6   Tushy        07/02/2017   04/06/2017     06/05/2017      PA0002050769
                                                               19:10:03
